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                                                                                     FILED
                                                                                  April 02, 2025
     SEALED                                                                   CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS

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                                                                           BY: ________________________________
                                                                                                   DEPUTY
                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 UNITED STATES OF AMERICA

        Plaintiff

                v                                       Case No: 5:24-CR-00615-DAE

 (2) ROLANDO GARCIA


        Defendant

               GOVERNMENT’S MOTION FOR DETENTION HEARING,
                   FOR DETENTION, AND FOR CONTINUANCE

TO THE UNITED STATES MAGISTRATE JUDGE:

       The Government, by and through the United States Attorney for the Western District of

Texas and the undersigned Assistant United States Attorney, and pursuant to 18 U.S.C. § 3141, et.

seq, moves for pretrial detention of Defendant; for a detention hearing regarding the above-named

Defendant; and for a continuance of said hearing. In support of these motions, the Government

shows as follows:

I.     MOTION FOR DETENTION HEARING

       The Government requests that a hearing be set regarding detention pursuant to 18 U.S.C.

§ 3142(f), as this matter involves one of more of the following:

☐      an offense with a maximum sentence of life imprisonment or death

☐      a qualifying controlled substance offense with a maximum sentence of 10 years or more

☒      a felony offense that involves the possession or use of a firearm (including but not limited
       to felon in possession of a firearm), destructive device, or any other dangerous weapon

☐       a felony offense that is a crime of violence as defined under 18 U.S.C. § 3156(a)(4) to

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       include a felony offense under 18 U.S.C. chapter 77, 109a, 110 or 117

☐      a felony offense that involves a minor victim

☐      an offense that involves failure to register as a sex offender under 18 U.S.C. § 2250

☒      a serious risk that the Defendant will flee

☒      a serious risk that the Defendant will obstruct or attempt to obstruct justice

II.    MOTION FOR DETENTION

       Grounds for detention. The Government further requests that Defendant be detained

pending trial in this case pursuant to 18 U.S.C. §§ 3141(a) and 3142(e), because no condition or

combination of conditions will reasonably assure:

☒      Defendant’s appearance as required

☒      the safety of any other person or the community

III.   MOTION FOR CONTINUANCE

       Three-day continuance. Pursuant to 18 U.S.C. § 3142(f), the Government moves for a

three-day continuance of the detention hearing in the matter.

IV.    NOTICE OF REBUTTABLE PRESUMPTION IN FAVOR OF DETENTION

       Presumption of detention. In addition, the Government gives notice that 18 U.S.C. §

3142(e)(3) establishes a rebuttable presumption that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of the community,

because there is probable cause to believe that Defendant committed:

☐      a qualifying controlled substance offense with a maximum sentence of 10 years or more

☐      an offense under 18 U.S.C. § 924(c)

☐      an offense under 18 U.S.C. chapter 77 for which a maximum term of imprisonment of 20
       years or more is prescribed


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☐      a qualifying offense involving a minor victim

V.     NOTICE OF APPLICABILITY OF TEMPORARY DETENTION OF UP TO 10

DAYS

       Temporary detention. The Government gives notice, pursuant to 18 U.S.C. § 3142(d), that

Defendant is subject to temporary detention of up to ten days, as Defendant may flee or pose a

danger to any other person or the community, and Defendant was:

☐      at the time the offense was committed, on release pending trial for a felony offense

☐      at the time the offense was committed, on release pending imposition or execution of
       sentence, appeal of sentence or conviction, or completion of sentence for an offense

☐      at the time the offense was committed, on probation or parole for an offense

☐      and is not, a United States citizen or not admitted lawfully for permanent residence

                                            Respectfully submitted,

                                            MARGARET F. LEACHMAN
                                            Acting United States Attorney


                                     BY:    _____/s/______________________
                                            SADE BOGART
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   SEALED
                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


 UNITED STATES OF AMERICA

       Plaintiff

              v
                                                       Case No: 5:24-CR-00615-DAE
 (2) ROLANDO GARCIA


       Defendant



                                         ORDER

      On this date the Court considered the Government’s Motion to Detain Defendant, and the

Court having reviewed said motion finds that it should be GRANTED.

      IT IS HEREBY ORDERED that the Government’s Motion to Detain Defendant is

GRANTED.

      IT IS FURTHER ORDERED that Defendant’s bond hearing is set for

_________________________ at _______ a.m. / p.m.

      SIGNED AND ENTERED on: _______________________, 2025.




                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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